           Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 1 of 15
                                                                               USDCSDNY
                                                                               DOCUMENT
 UNITED STATES DISTRICT COURT                                                  ELECTRONICALLY FliED
 SOUTHERN DISTRICT OF NEW YORK                                                 DOC#:            .
 --------------------------------------------------------------   )(           DATE FILED:
                                                                                            -r----'-J'-1--f--

 IN RE PETITION OF ESTHER KIOBEL,
                                                                       OPINION AND ORDER
                                        Petitioner,                    GRANTING PETITION

 For an Order Granting Leave to Issue Subpoenas to                     16 Civ. 7992 (AKH)
 Cravath, Swaine & Moore LLP for Production of
 Documents Pursuant to 28 U.S.C. § 1782


 -------------------------------------------------------------- )(


ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On October 12, 2016, Petitioner Esther Kiobel ("Kiobel") filed a petition pursuant

to 28 U.S.C. § 1782 seeking leave to issue subpoenas to the law firm Cravath, Swaine & Moore

LLP ("Cravath") for the production of documents in Cravath's possession. Kiobel seeks these

documents for use in an anticipated civil action that Kiobel intends to file in the Netherlands

against Cravath's client, Royal Dutch Shell ("Shell") and related entities. Oral argument was

held on December 20, 2016. At the hearing, I advised the parties that Kiobel's petition would be

granted upon the parties' submission of a stipulation that addressed Cravath's concerns regarding

the confidentiality of the documents sought. On January 13, 2017, the parties submitted a

confidentiality stipulation and proposed order. For the reasons stated herein, Kiobel's petition is

granted.

                                               BACKGROUND
                 In the early 1990s, Kiobel and her husband, Dr. Barinem Kiobel, were actively

involved in an organization called the Movement for the Survival of the Ogoni People, which

opposed Shell's activities in a region of Nigeria known as Ogoni. The Nigerian military
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 2 of 15



launched a violent campaign to suppress this opposition movement, and in 1995, Kiobel 's

husband was executed by the Nigerian military.

               In 2002, Kiobel filed a class action lawsuit in the Southern District of New York

against Shell and related entities under the Alien Tort Statute. 28 U.S.C. § 1350. Kiobel alleged

that Shell and its Nigerian subsidiary were liable for gross violations of civil liberties and human

rights committed by the Nigerian military against Kiobel, Kiobel's husband, and other Nigerians

who opposed Shell's activities in Ogoni. Kiobel alleged that Shell was directly complicit in the

execution of her husband and other opposition leaders following a rigged and corrupt criminal

trial, and further alleged that she was personally whipped, sexually assaulted, and detained for

three weeks when she attempted to bring her husband food during his detention prior to

execution. In addition to this action, Kiobel v. Royal Dutch Petroleum Co., No. 02 Civ. 7618,

three other lawsuits were filed in the Southern District of New York alleging Shell's complicity

in the Nigerian government's campaign against the Ogoni people: Wiwa v. Royal Dutch

Petroleum Co., No. 96 Civ. 8386; Wiwa v. Brian Anderson, No. 01Civ.1909; and Wiwa v. Shell

Petroleum Development Corp. of Nigeria, No. 04 Civ. 2665. Cravath represented Shell in each

of these actions. During the course of these actions, Cravath gathered and produced numerous

documents and engaged in other discovery-related activities.

               In 2013, the U.S. Supreme Court dismissed the Kiobel action on the grounds that

the Alien Tort Statute is subject to a "presumption against extraterritorial application." Applying

that presumption, the Court held that Kiobel's claim could not proceed in a U.S. court because

all relevant conduct had occurred outside of the United States. See Kiobel v. Royal Dutch

Petroleum Co., 133 S. Ct. 1659 (2013).




                                                 2
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 3 of 15



                Kiobel alleges, in the petition now before me, that she intends to file an action in

the Netherlands against Shell alleging the same tortious conduct, namely, Shell's alleged

involvement in the execution of her husband, as well as Shell's alleged complicity in violations

of civil liberties and human rights against the Kiobels and other Nigerians who opposed Shell's

activities in Nigeria in the 1990s. In anticipation of this Dutch proceeding, Kiobel seeks to

obtain the documents and other discovery materials (for example, deposition transcripts) that

Cravath produced on behalf of Shell and related entities in the Kiobel and Wiwa actions. Kiobel

believes this discovery would advance the foreign proceeding that she intends to initiate, and that

she cannot obtain such discovery in the Netherlands because Cravath is outside the jurisdictional

reach of the Dutch judiciary. Kiobel contends that 28 U.S.C. § 1782 is therefore the proper

mechanism to obtain this discovery.

                                           DISCUSSION
                I.      Statutory Requirements
                To prevail in a Section 1782 petition, a petitioner must first satisfy three statutory

requirements: "(I) that the person from whom discovery is sought reside (or be found) in the

district of the district court to which the application is made, (2) that the discovery be for use in a

proceeding before a foreign tribunal, and (3) that the application be made by a foreign or

international tribunal or 'any interested person.'" In re Application of Esses, 101 F.3d 873, 875

(2d Cir. 1996). Cravath concedes that the third requirement has been satisfied, but contends that

Kiobel has failed to satisfy the first two requirements.

                       a. The First Statutory Requirement is Satisfied
                Under the first statutory requirement, the person from whom discovery is sought

must reside in the district where the application is made. There is no dispute that Kiobel seeks

discovery from Cravath, and that Cravath resides in the Southern District of New York. Cravath,

however, argues that it is not the real "person from whom discovery is sought" because it is

                                                   3
          Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 4 of 15



merely a custodian of documents that belong to Shell. Cravath suggests that the "real" person

from whom discovery is sought is Shell, an entity that does not reside in this district.

Consequently, Cravath argues, the first statutory element has not been met.

                No authority supports this argument. To credit Cravath's argument would

effectively exempt many law firms from having to respond to Section 1782 petitions. Cravath

has made this argument before, without success. In In re Application a/Schmitz, 259 F. Supp. 2d

294 (S.D.N.Y. 2003), Cravath argued that the first statutory requirement had not been satisfied

because it was the custodian of documents "solely for the purposes of the U.S. Litigation,'' and

that the true owner of the documents was its foreign client. The district court rejected the

argument: "That argument is creative, but sails far wide of the mark. Application of section

1782 does not involve an analysis of ... why a respondent has the documents. It is sufficient that

respondents reside in this district, as they concededly do." Id. at 296. The Second Circuit did

not disturb this ruling. See Schmitz v. Bernstein Liebhard & Lifshitz, LLP., 376 F.3d 79, 83 (2d

Cir. 2004). 1 Other courts are in accord. See In re Mare Shipping Inc., 2013 WL 5761104, at *3

(S.D.N. Y. Oct. 23, 2013) ("Courts in this district have found that for purposes of a section 1782

claim, it is sufficient that a respondent law firm resides in this district, even if the real party in

interest, the client, resides elsewhere."); In re Republic of Kazakhstan, 110 F. Supp. 3d 512, 514

(S.D.N.Y. 2015) (granting Section 1782 petition seeking documents from law firm representing

international client).

                The question is whether Cravath is in possession of the documents, not whom the

documents "belong" to. Unless a court instructs otherwise, document productions made in


1
  As the Second Circuit has recognized, the fact that a respondent represents a foreign client that
is a party to the foreign proceeding is certainly a fact worth considering. See Schmitz, 376 F.3d
at 85. Here, it is appropriate to consider that Cravath possesses these documents as a result of its
prior representation of Shell, and that Shell will be named as a defendant in the foreign
proceeding. However, as the Second Circuit's analysis in Schmitz makes clear, these facts are
relevant to the first discretionary factor, not the first statutory requirement. Id.
                                                    4
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 5 of 15



response to a Section 1782 petition are governed by the Federal Rules of Civil Procedure. See 28

U.S.C. § l 782(a). Under those rules, relevant documents within the "possession, custody, or

control" of the recipient of a discovery request are generally discoverable, regardless of who

owns or created those documents. See, e.g., Fed. R. Civ. P. 34(a)(l); 45(1)(A)(iii). This is true

notwithstanding Cravath's attorney-client relationship with Shell. "[D]ocuments held by an

attorney in the United States on behalf of a foreign client, absent privilege, are as susceptible to

subpoena as those stored in a warehouse within the district court's jurisdiction. Documents

obtain no special protection because they are housed in a law firm; '[a]ny other rule would

permit a person to prevent disclosure of any of his papers by the simple expedient of keeping

them in the possession of his attorney."' Ratliffv. Davis Polk & Wardwell, 354 F.3d 165, 170-

71 (2d Cir. 2003) (quoting Colton v. United States, 306 F.2d 633, 639 (2d Cir. 1962)). Here,

there is no concern that privileged materials will be disclosed because Kiobel seeks only

documents that Cravath has previously produced, which therefore have already been vetted for

privilege.

               Thus, the first statutory requirement has been satisfied.

                       b. The Second Statutory Requirement is Satisfied
               Under the second statutory requirement, the discovery sought must be "for use" in

a foreign proceeding. "A § 1782 applicant satisfies the statute's 'for use' requirement by

showing that the materials she seeks are to be used at some stage of a foreign proceeding." Mees

v. Buiter, 793 F.3d 291, 295 (2d Cir. 2015). Cravath argues that Kiobel has failed to satisfy this

element because she has yet to commence an action against Shell in the Netherlands, and the

representation that she "expects" to file the action shortly is too speculative to warrant discovery

pursuant to Section 1782.

               In situations such as this, where there is no pending foreign proceeding, the "for

use" requirement is still satisfied ifthe foreign proceeding is within "reasonable contemplation."

                                                  5
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 6 of 15



Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 259 (2004) (foreign proceeding must

"be within reasonable contemplation," but need not be "pending" or "imminent."). To

demonstrate that the action is within reasonable contemplation, a petitioner "must provide some

objective indicium that the action is being contemplated .... At a minimum, a § 1782 applicant

must present to the district court some concrete basis from which it can determine that the

contemplated proceeding is more than just a twinkle in counsel's eye." Certain Funds, Accounts

and/or Inv. Vehicles v. KPMG LLP, 798 F.3d 113, 123-24 (2d Cir. 2015).

                Kiobel has provided objective indicia demonstrating that the Dutch proceeding is

within reasonable contemplation. Dutch counsel has (I) drafted a writ of summons, which is the

initiating document in Dutch proceedings; (2) applied for and obtained legal aid on behalf of

Kiobel from the Dutch Legal Aid Board, which required a showing that meaningful steps had

been taken to prepare for the action; and (3) sent "liability letters" to Shell, which had the effect

of tolling the statute of limitations. See Samkalden Reply Deel. fl~ 3-6. This case is therefore

distinguishable from Certain Funds, in which the petitioner had done nothing more than retain

counsel and discuss "the possibility of initiating litigation." 798 F.3d at 124.

                Kiobel further emphasizes that in the Netherlands, a plaintiff must present a

certain amount of evidence at the outset of the action in order to proceed. Given that Kiobel

seeks discovery from Cravath in order to collect evidence that may be necessary for the Dutch

action to survive, the fact that Kiobel has yet to commence the action is both defensible and

logical. In this sense, Kiobel' s filing of this petition is itself an important step in preparing for

the Dutch action, and helps to show that the action is within reasonable contemplation. In

Application o/Consorcio Ecuatoriano de Telecomunicaciones S.A. v. JAS Forwarding (USA),

Inc., 747 F.3d 1262 (11th Cir. 2014), the Eleventh Circuit held that the "for use" requirement

was met in light of petitioner's "facially legitimate and detailed explanation of its ongoing

investigation, its intent to commence a civil action against its former employees, and the valid

                                                    6
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 7 of 15



reasons for [petitioner] to obtain the requested discovery under the instant section 1782

application before commencing suit." Id at 1271. Here, Kiobel has offered valid reasons for

delaying the Dutch proceeding until after it obtains discovery from Cravath.

               Thus, the second statutory requirement has also been satisfied.

               II.     Discretionary Factors
               Once the statutory requirements are met, as they are here, "a district court may

grant discovery under§ 1782 in its discretion." Mees, 793 F.3d at 297.

               In assessing whether or not to exercise that discretion, a court must consider four

discretionary factors: "( 1) whether 'the person from whom discovery is sought is a participant in

the foreign proceeding,' in which case 'the need for§ 1782(a) aid generally is not as apparent';

(2) 'the nature of the foreign tribunal, the character of the proceedings underway abroad, and the

receptivity of the foreign government or the court or agency abroad to U.S. federal-court judicial

assistance'; (3) 'whether the§ 1782(a) request conceals an attempt to circumvent foreign proof-

gathering restrictions or other policies of a foreign country or the United States'; and (4) whether

the request is 'unduly intrusive or burdensome."' Id. at 298 (2d Cir. 2015) (quoting Intel, 542

U.S. at 264-265). A court must also consider the "twin aims of the statute: providing efficient

means of assistance to participants in international litigation in our federal courts and

encouraging foreign countries by example to provide similar means of assistance to our courts."

Id. at 297-98 (internal quotation marks and citation omitted).

                       a. The First Discretionary Factor Weighs in Favor of Granting the
                          Petition
               Under the first discretionary factor, a court is to consider whether "the person

from whom discovery is sought is a participant in the foreign proceeding." Intel, 542 U.S. at

264. On a technical level, the discovery is sought from Cravath, which is not, and is not

expected to become, a party to the Dutch proceeding. However, Cravath again argues that

                                                  7
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 8 of 15



Kiobel is "effectively" seeking discovery from Shell, which will be a defendant in the anticipated

Dutch litigation. For all intents and purposes, Cravath argues, Kiobel seeks discovery from a

Dutch entity for use against that same Dutch entity in a Dutch proceeding. In such situations, the

need for assistance via Section 1782 "is not as apparent as it ordinarily is when evidence is

sought from a nonparticipant in the matter arising abroad." Id

               Although courts have rejected this argument with respect to the first statutory

factor, courts have been more receptive to it when considered in the context of the first

discretionary factor. For example, in Schmitz v. Bernstein Liebhard & LifShitz, LLP., 376 F.3d

79 (2d Cir. 2004 ), a German petitioner sought discovery from Cravath, which represented a

German client in U.S. litigation, for use in a German proceeding against that same German

client. The Second Circuit noted that "although technically the respondent in the district court

was Cravath, for all intents and purposes petitioners are seeking discovery from DT, their

opponent in the German litigation. Intel suggests that because DT is a participant in the German

litigation subject to German court jurisdiction, petitioner's need for § 1782 help 'is not as

apparent as it ordinarily is when evidence is sought from a nonparticipant in the matter arising

abroad.'" Schmitz, 376 F.3d at 85 (quoting Intel, 542 U.S. at 264). Similarly, in Mare Shipping,

the court reasoned that the "first factor ... does not weigh in favor of granting the application"

because although "the named Respondents are not party to a foreign action, Spain, respondent's

client, is a participant in the foreign proceeding." 2013 WL 5761104, at *4. See also In re

Kreke Immobilien KG, 2013 WL 5966916, at *5 (S.D.N.Y. Nov. 8, 2013) (denying petition on

discretionary grounds where respondent was parent company of foreign defendant because

"discovery is fundamentally being sought from a participant in the [foreign] proceeding.").




                                                  8
          Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 9 of 15



                Cravath contends that these cases show that the first factor weighs against

granting this petition because the documents are best obtained directly from Shell in the Dutch

proceeding. However, the question of whether the respondent is a party to the foreign

proceeding is not the only relevant consideration. Rather, the respondent's connection to the

foreign proceeding is part of a broader inquiry: whether the discovery is "outside the foreign

tribunal's jurisdictional reach," and thus "unobtainable absent § l 782(a) aid." Intel, 542 U.S. at

264. In In re Microsoft Corp., 428 F. Supp. 2d 188, 192 (S.D.N.Y. 2006), for example, the court

described the first Intel prong as "whether the documents or testimony sought are within the

foreign tribunal's jurisdictional reach, and thus accessible absent § 1782 aid." If a law firm's

client is party to the foreign proceeding, then the documents are presumably within the foreign

tribunal's reach, and assistance via Section 1782 is presumably unnecessary. But as this case

illustrates, that is not always the case. Thus, "[i]t is the foreign tribunal's ability to control the

evidence and order production, not the nominal target of the Section 1782 application, on which

the district court should focus." In re Application o/000 Promnefstroy, 2009 WL 3335608, at

*5 (S.D.N.Y. Oct. 15, 2009).

                Here, Shell may be in possession of some of the documents Kiobel seeks, but

there are several reasons why the discovery may not be obtainable "absent§ 1782 aid." First, as

discussed above, the Dutch action cannot proceed unless Kiobel presents sufficient evidence at

the outset. Kiobel seeks documents from Cravath in order to collect evidence prior to filing suit.

Absent that discovery, Kiobel's contemplated action may be foreclosed before there is any

opportunity to obtain this discovery directly from Shell in the Dutch proceeding. Second, even if

Kiobel was able to obtain discovery from Shell in the Dutch proceeding, not all of the materials

that Kiobel seeks are likely to be in Shell's possession. For example, Kiobel is particularly



                                                    9
        Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 10 of 15



interested in obtaining deposition transcripts, which Shell may not possess. Kiobel has also

represented that in other litigation Kiobel's Dutch counsel has brought against Shell arising out

of Shell's activities in Nigeria during the 2000s, Shell has represented that it is no longer in

possession of many requested documents. Samkalden Reply Deel.~ 9. Since Kiobel's action

arises out of conduct that occurred in the 1990s, Kiobel believes Cravath may be the only source

for some of these documents.

               Section 1782 assistance may not be warranted in all situations where the

respondent is a law firm representing a foreign client that is a defendant in the foreign

proceeding. However, on balance, under the particular circumstances of this case, this factor

weighs in favor of granting the petition because these documents may be unobtainable absent

Section 1782 aid.

                       b. The Second Discretionary Factor Weighs in Favor of Granting the
                          Petition
               Under the second discretionary factor, a court is to consider "the nature of the

foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the

foreign government or the court or agency abroad to U.S. federal-court judicial assistance."

Intel, 542 U.S. at 264. In evaluating this factor, courts "should consider only authoritative proof

that a foreign tribunal would reject evidence obtained with the aid of section 1782." Euromepa

S.A. v. R. Esmerian, Inc., 51F.3d1095, 1100 (2d Cir. 1995) (emphasis added). Cravath, as the

party opposing the application, "bears the burden of proving the non-receptivity of the foreign

tribunal." In re Application o/Gorsoan Ltd, 2014 WL 7232262, at *7 (S.D.N.Y. Dec. 10, 2014)

(citing In re Esses, IOI F.3d 873, 876 (2d Cir. 1996)).

               Cravath offers no aµthoritative proof that the Dutch courts are unreceptive to

receiving assistance pursuant to Section 1782. Cravath points out that when the Kiobel case was


                                                  10
          Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 11 of 15



before the U.S. Supreme Court, the Government of the Netherlands submitted an amicus brief in

which it argued that U.S. courts should not interfere with its right to adjudicate disputes among

its own nationals. In so arguing, the Netherlands expressed concern over American "plaintiff-

favoring rules," including "the generally broader discovery available to plaintiffs in the U.S."

Moskowitz Deel., Ex. A at 27. This is not authoritative proof that the Netherlands is unreceptive

to Section 1782 discovery. Such proof is typically "embodied in a forum country's judicial,

executive or legislative declarations that specifically address the use of evidence gathered under

foreign procedures." Euromepa S.A. v. R. Esmerian, Inc., 51 F .3d I 095, 1100 (2d Cir. 1995)

(internal quotations omitted). The amicus brief referenced by Cravath addressed whether

Kiobel's claim should be heard in a U.S. court, but it did not discuss Section 1782 or otherwise

address whether Dutch courts accept evidence "gathered under foreign procedures." It is

therefore not an authoritative declaration that Dutch courts are hostile to receiving discovery

pursuant to statutes such as Section 1782.

               The other cases relied upon by Cravath only further illustrate that "where courts

have found that analysis of the second Intel factor weighs against a Section 1782 discovery

request, evidence demonstrating the non-receptiveness of the foreign tribunals to U.S. discovery

has been explicit." Gorsoan, 2014 WL 7232262, at *7. In Jn re Microsoft Corp., 428 F. Supp.

2d 188, 194 (S.D.N. Y. 2006), for example, the court denied the petition because the European

Commission had "explicitly stated that it opposes the discovery sought by Microsoft and is not

receptive to U.S. judicial assistance." Similarly, in Schmitz, 376 F.3d 79, 84 (2d Cir. 2004), the

German Ministry of Justice sent "specific requests" to the district judge that the petition be

denied.




                                                 11
        Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 12 of 15



               The Netherlands has done nothing of the sort here. On the contrary, in Mees v.

Buiter, a fairly recent case in which the petitioner sought documents for use in a Dutch

proceeding, the Second Circuit noted that the respondent did "not contend that Dutch courts

reject the use in litigation of materials obtained through§ 1782." 793 F.3d at 303 n.20.

               Thus, this factor also weighs in favor of granting the petition.

                       c. The Third Discretionary Factor Weighs in Favor of Granting the
                          Petition
               Under the third discretionary factor, courts must consider "whether the§ l 782(a)

request conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of

a foreign country or the United States." Intel, 542 U.S. at 264. Importantly, this factor does not

impose a ''foreign-discoverability requirement." Mees v. Buiter, 793 F.3d 291, 303 (2d Cir.

2015). As the Second Circuit recently summarized, "there is no requirement that evidence

sought in the United States pursuant to § l 782(a) be discoverable under the laws of the foreign

country that is the locus of the underlying proceeding." Gorsoan Ltd. v. Bullock, 652 F. App'x 7,

9 (2d Cir. 2016). Imposing a "foreign-discoverability rule" would "serve only to thwart

§ 1782(a)'s objective to assist foreign tribunals in obtaining relevant information that the

tribunals may find useful but, for reasons having no bearing on international comity, they cannot

obtain under their own laws." Intel, 542 U.S. at 261-62.

               Similarly, a petitioner need not demonstrate that it attempted to obtain the

discovery in the foreign tribunal before filing a Section 1782 petition. See Mees, 793 F.3d at 303

(there is "no support in the plain language of the statute" for a "quasi-exhaustion requirement.")

(quoting In re Metallgesellschaft, 121 F.3d 77, 79 (2d Cir. 1997)); In re Application of

Bloomfield Inv. Res. Corp., 315 F.R.D. 165, 167 (S.D.N.Y. 2016) ("Bloomfield's failure to

exhaust discovery procedures in the Netherlands Action is not a basis on which to reject


                                                 12
         Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 13 of 15



Bloomfield's discovery request."); Gorsoan, 2014 WL 7232262, at *9 (a"§ 1782 applicant need

not exhaust foreign discovery remedies. Requiring Petitioner to wait for the outcome of the ...

discovery proceedings would amount to enforcing such an 'exhaustion' requirement.").

                Cravath argues that Kiobel filed this petition in order to avoid a potentially

unfavorable discovery ruling from the Dutch court. However, accepting this argument would

require Kiobel to refrain from filing this petition until after it first tried to obtain this discovery in

the Netherlands. This effectively imposes an exhaustion requirement, which the Second Circuit

has rejected. Mees, 793 F.3d at 303.

                The proper inquiry is not whether a Dutch court would grant the discovery Kiobel

seeks here, but whether the Dutch judiciary imposes a proof-gathering restriction or some other

prohibition that precludes use of these materials in the Dutch proceeding. As the Second Circuit

explained in Mees, that "a country does not enable broad discovery within a litigation does not

mean that it has a policy that restricts parties from obtaining evidence through other lawful

means. 'Proof-gathering restrictions' are best understood as rules akin to privileges that prohibit

the acquisition or use of certain materials, rather than as rules that/ail to facilitate investigation

of claims by empowering parties to require their adversarial and non-party witnesses to provide

information." 793 F.3d at 303 n.20. Thus, a foreign tribunal may "limit discovery within its

domain for reasons peculiar to its own legal practices," but this does "not necessarily signal

objection to aid from United States federal courts." Intel, 542 U.S. at 261.

                Here, Cravath has provided no evidence that the Netherlands prohibits or

otherwise restricts parties from gathering evidence via Section 1782. Thus, this factor weighs in

favor of granting the petition.



                                                    13
        Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 14 of 15



                         d. The Fourth Discretionary Factor Weighs in Favor of Granting the
                            Petition
                  The final discretionary factor to consider is whether the request is "unduly

intrusive or burdensome." Intel, 542 U.S. at 245. Cravath's burden is extremely minimal

because it has previously produced all of the documents currently sought, and probably retained

separately bundled copies of the productions it made. No additional collection or review is likely

to be required.


                  Many of the arguments that Cravath initially raised with respect to burden have

since been amicably resolved by the parties. Regarding the scope of the production, which

Cravath argued was overbroad, Kiobel has agreed to limit its request to: (a) documents produced

by the defendants in the Kiobel and Wiwa actions; and (b) deposition transcripts of the

defendants' witnesses in those same actions. Cravath also initially argued that providing the

documents would be unduly intrusive absent a mechanism to ensure that the documents'

confidentiality is maintained. However, the parties have since stipulated to a confidentiality

agreement, which renders this issue moot.

                  Cravath's remaining argument with respect to burden is unpersuasive. Cravath

argues that the documents might be subject to "other privileges governed by Dutch law," and that

if the petition is granted, Cravath would have to conduct a "substantial and complex review" of

the documents to ensure compliance with applicable foreign privileges. This argument is

speculative. Absent "authoritative proof' of a "violation of the alleged privilege," a court should

not refrain from granting a petition. In re Metallgesellschaft, 121 F.3d 77, 80 (2d Cir. 1997).

Here, Cravath identifies no specific foreign privilege, let alone authoritative proof that

production of the documents would violate that privilege, necessitating additional review prior to

production.

                                                   14
            Case 1:16-cv-07992-AKH Document 21 Filed 01/24/17 Page 15 of 15



                 Thus, the fourth and final discretionary factor weighs in favor of granting the

petition.

                                          CONCLUSION
                 For the foregoing reasons, and upon entry of the Stipulation and Order Regarding

Confidentiality of Discovery Materials dated January 13, 2017, it is hereby:

                 ORDERED that the Petition of Esther Kiobel, Pursuant to 28 U.S.C. § 1782, for

Leave to Issue Subpoenas to Cravath, Swaine & Moore LLP for the Production of Documents

for Use in a Foreign Proceeding is granted;

                 ORDERED that Kiobel is authorized to issue a subpoena consistent with her

submissions and counsel's and the Court's statements at the December 20, 2016, oral argument;

                 ORDERED that Kiobel shall serve the subpoena by January 27, 2017, and

Cravath shall produce the responsive documents by February 27, 2017.

                 The Clerk shall mark the case closed.

         SO ORDERED.

Dated:           January\:{, 2017                      tlli,1'~
                 New York, New York                      AL VIN K. HELLERSTEIN
                                                         United States District Judge




                                                  15
